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                                          #:3232

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      DOUGLAS J. CHRISMAS
9
10                              UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12
      UNITED STATES OF AMERICA,                 Case No. 2:21-CR-00127-MCS
13
                   Plaintiff,                   NOTICE OF LODGING OF
14                                              ADDITIONAL CHARACTER LETTERS
             v.
15                                              IN SUPPORT OF DEFENDANT
      DOUGLAS J. CHRISMAS,                      DOUGLAS J. CHRISMAS
16
17                 Defendant.                   Judge: Hon. Mark C. Scarsi
                                                Hearing: January 13, 2025
18                                              Time: 10:30 a.m.
19                                              Courtroom: 7C
20
21   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

22          PLEASE TAKE NOTICE THAT Defendant Douglas J. Chrismas, by and through

23   his counsel of record, hereby lodges the attached additional letters submitted in his support

24   for the Court’s consideration along with counsel’s forthcoming objections to the PSR and

25   sentencing memorandum.

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          NOTICE OF LODGING ADDITIONAL CHARACTER LETTERS IN SUPPORT OF DEFENDANT’S SENTENCING
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                                        #:3233


1                                        Respectfully submitted,
2    Dated: December 16, 2024            /s/ Megan A. Maitia
                                         MEGAN A. MAITIA
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                                         JENNIFER L. WILLIAMS
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5                                        Attorneys for Defendant
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        NOTICE OF LODGING ADDITIONAL CHARACTER LETTERS IN SUPPORT OF DEFENDANT’S SENTENCING
